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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 SECURITIES AND EXCHANGE COMMISSION,

                                       Plaintiff,
                                                            Case No. 1:16-CV-3384 (JPO)
                            v.

 LOUIS MARTIN BLAZER III,

                                       Defendant.


AMENDED FINAL JUDGMENT AS TO DEFENDANT LOUIS MARTIN BLAZER III

       WHEREAS, on May 6, 2016, the Securities and Exchange Commission filed a Complaint

(the “Complaint”) and defendant Louis M. Blazer III (“Blazer” or “Defendant”) later entered a

general appearance; consented to the Court’s jurisdiction over Defendant and the subject matter of

this action; consented to the entry of a May 18, 2016, Partial Final Consent Judgment; and

consented to the entry of an August 4, 2017, Final Consent Judgment without admitting or denying

the allegations of the Complaint (except as to jurisdiction and except as otherwise provided therein

in paragraph V); waived findings of fact and conclusions of law; waived service of the Summons and

Complaint; and waived any right to appeal from the Final Consent Judgment;

       WHEREAS on or about September 15, 2017, Blazer pleaded guilty to a five-count

Information in connection with United States v. Blazer, 17 Cr. 563 (ER) (S.D.N.Y.), a related criminal

proceeding (the “Criminal Proceeding”); on February 2, 2020, the Honorable Edgardo Ramos

entered an order of judgment against Blazer; on February 6, 2020, Blazer was sentenced; and on

April 30, 2020, Blazer was ordered to pay restitution in the total amount of $1,558,647;

       WHEREAS the Commission and Blazer consent to this Amended Final Judgment, which

deems satisfied Blazer’s obligation to pay disgorgement of $1,558,647.00 under the Final Consent

Judgment based on the entry of the restitution order in the Criminal Proceeding;
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        THEREFORE, the Court enters this Amended Final Judgment as follows:

                                                   I.

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating, directly or indirectly, singly or in concert,

Section 17(a) of the Securities Act of 1933 [15 U.S.C. § 77q(a)] by using any means or instruments of

transportation or communication in interstate commerce or the mails, in the offer or sale of any

security:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact or

                any omission of a material fact necessary in order to make the statements made, in

                light of the circumstances under which they were made, not misleading; or

        (c)     to engage in any transaction, practice, or course of business which operates or

                would operate as a fraud or deceit upon the purchaser.

                                                   II.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating, directly or indirectly, singly or in concert,

Section 10(b) of the Securities Exchange Act of 1934 [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of interstate

commerce, or of the mails, or of any facility of any national securities exchange, in connection with

the purchase or sale of any security:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to make any untrue statement of a material fact or to omit to state a material fact

                necessary in order to make the statements made, in the light of the circumstances


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                under which they were made, not misleading; or

        (c)     to engage in any act, practice, or course of business which operates or would operate

                as a fraud or deceit upon any person.

                                                  III.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating, directly or indirectly, singly or in concert,

Sections 206(1) and 206(2) of the Investment Advisers Act of 1940 (“Investment Advisers Act”) [15

U.S.C. §§ 80b-6(1) and 80b-6(2)] by knowingly or recklessly while acting as an investment adviser

within the meaning of Section 202(a)(11) of the Investment Advisers Act [15 U.S.C. § 80b-2(a)(11)],

employing any device, scheme, and/or artifice to defraud any client or prospective client and/or

engage in acts, practices, or courses of business which operate as a fraud or deceit upon any client or

prospective client.

                                                  IV.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), paragraphs I, II, and III above also bind the following who

receive actual notice of this Amended Final Judgment by personal service or otherwise: (a)

Defendant’s agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).




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                                                  V.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is liable for disgorgement in the amount of $1,558,647.00, plus prejudgment interest thereon in the

amount of $220,051.57, representing profits gained as a result of the conduct alleged in the

Complaint and prejudgment interest through the date of the Defendant’s Partial Final Consent

Judgment in this matter, provided, however, that Defendant’s obligation to pay disgorgement is

deemed satisfied by the order of restitution of $1,558,647.00 entered against Defendant in the

Criminal Proceeding. In light of the factors present in this case, including the defendant’s financial

condition, the Defendant is additionally liable for a civil penalty of $150,000.00. Defendant shall

satisfy these obligations by paying $370,051.57 to the Commission within thirty (30) days after entry

of this Amended Final Judgment.

        Defendant may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly from

a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

cashier’s check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

        Enterprise Services Center
        Accounts Receivable Branch
        6500 South MacArthur Boulevard
        Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of this

Court; Louis Martin Blazer III as a defendant in this action; and specifying that payment is made

pursuant to this Amended Final Judgment.

        Defendant shall simultaneously transmit photocopies of evidence of payment and case

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identifying information to the Commission’s counsel in this action. By making this payment,

Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part of

the funds shall be returned to Defendant.

        The Commission may enforce the Court’s judgment through the remedies authorized by law

at any time after 30 days following the entry of this Amended Final Judgment. Defendant shall pay

post-judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.

        The Commission shall hold the funds, together with any interest and income earned thereon

(collectively, the “Fund”), and may propose a plan to distribute the Fund subject to the Court’s

approval. Such a plan may provide that the Fund shall be distributed pursuant to the Fair Fund

provisions of Section 308(a) of the Sarbanes-Oxley Act of 2002. The Court shall retain jurisdiction

over the administration of any distribution of the Fund. If the Commission staff determines that the

Fund will not be distributed, the Commission shall send the funds paid pursuant to this Amended

Final Judgment to the United States Treasury.

        Regardless of whether any such Fair Fund distribution is made, amounts ordered to be paid

as civil penalties pursuant to this Amended Final Judgment shall be treated as penalties paid to the

government for all purposes, including all tax purposes. To preserve the deterrent effect of the civil

penalty, Defendant shall not, after offset or reduction of any award of compensatory damages in any

Related Investor Action based on Defendant’s payment of disgorgement in this action, argue that he

is entitled to, nor shall he further benefit by, offset or reduction of such compensatory damages

award by the amount of any part of Defendant’s payment of a civil penalty in this action (“Penalty

Offset”). If the court in any Related Investor Action grants such a Penalty Offset, Defendant shall,

within 30 days after entry of a final order granting the Penalty Offset, notify the Commission’s

counsel in this action and pay the amount of the Penalty Offset to the United States Treasury or to a


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Fair Fund, as the Commission directs. Such a payment shall not be deemed an additional civil

penalty and shall not be deemed to change the amount of the civil penalty imposed in this Amended

Final Judgment. For purposes of this paragraph, a “Related Investor Action” means a private

damages action brought against Defendant by or on behalf of one or more investors based on

substantially the same facts as alleged in the Complaint in this action.

                                                  VI.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.

                                                  VII.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code [11 U.S.C. § 523], the

allegations in the complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

Amended Final Judgment or any other judgment, order, consent order, decree or settlement

agreement entered in connection with this proceeding, is a debt for the violation by Defendant of

the federal securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(19) of the Bankruptcy Code [11 U.S.C. § 523(a)(19)].




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                                              VIII.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Amended Final Judgment.



Dated: October 14, 2020

                                             ____________________________________
                                             UNITED STATES DISTRICT JUDGE




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